



 





THIS OPINION HAS NO PRECEDENTIAL
  VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING
  EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.&nbsp; 
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        The State, Respondent,
      
    
  

v.

  
    
      
        Diamon D. Fripp, Appellant.
      
    
  


Appeal from Beaufort  County
J. Ernest Kinard, Jr., Circuit Court Judge

Unpublished Opinion No. 2012-UP-693
  Submitted February 15, 2012  Filed March 21,
2012&nbsp;&nbsp;&nbsp; 

REVERSED AND REMANDED


  
    
      
        Robert M. Pachak, of Columbia and Jared Sullivan Newman, of Port  Royal, for Appellant.
Attorney General Alan Wilson, Chief Deputy Attorney General John  W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, and Senior  Assistant Attorney General Harold M. Coombs, Jr., all of Columbia; and  Solicitor I. McDuffie Stone, III, of Beaufort, for Respondent.

    
  

KONDUROS, J.: Diamon Fripp appeals his conviction for trafficking in cocaine.&nbsp; He maintains the trial court erred in  admitting a statement he made to police and evidence of money and stones  discovered during the search incident to his arrest for evading arrest.&nbsp; He also argues the trial court erred in  charging the jury on both actual possession of drugs and constructive  possession.&nbsp; We reverse and remand.
FACTS
Beaufort County  Sheriff's officer Sergeant Scott Rodriguez received a call to investigate a  disturbance involving a male in a blue shirt in the parking lot of the Studio  Seven Nightclub around 2 a.m. on January 1, 2009.&nbsp; Sergeant Rodriguez testified he observed a  male in a blue shirt near the entrance to the club and saw the club's owner  gesture toward the man in the blue shirt.&nbsp;  Sergeant Rodriguez called to the man, Fripp, asking if he could talk to  him.&nbsp; Fripp walked in the opposite  direction of Sergeant Rodriguez, weaving through vehicles in the parking  lot.&nbsp; Sergeant Rodriguez then called to  Fripp: "Stop.&nbsp; Sheriff's  Office" or "Sheriff's Office. Stop."&nbsp; According to Sergeant Rodriguez, Fripp  continued moving away from him and disappeared behind a black pick-up truck and  was out of sight for approximately ten seconds.&nbsp;  Fripp reappeared and then began walking in Sergeant Rodriguez's  direction "as though he was going to pass by" him.&nbsp; Sergeant Rodriguez could not see Fripp's  hands and drew his weapon and ordered Fripp to the ground.&nbsp; Fripp refused and stated "No, it's  cold.&nbsp; No, you got nothing on me.&nbsp; I have no drugs."&nbsp; Sergeant Rodriguez was able to handcuff  Fripp, and he searched him finding approximately $600 of crumpled bills in  different denominations and some stones in his pockets.&nbsp; When the stones were placed on the trunk of  the patrol vehicle, Fripp attempted to gather the stones into his mouth.&nbsp; Fripp was placed in the back of a second  patrol vehicle that had arrived on the scene.&nbsp;  Another officer searched the area behind the black pick-up truck and  found a baggie containing a white powdery substance that subsequently tested  positive for cocaine.&nbsp; Sergeant Rodriguez  showed the baggy to Fripp and said, "You're getting charged with  this."&nbsp; Fripp then stated, "I  don't know anything about that cocaine."&nbsp; 
At trial, Fripp sought  to suppress evidence of the statement he made regarding cocaine arguing the  statements were made without him having received Miranda[1] warnings. He also sought to suppress the money  and stones discovered during the search, contending that because the resisting  arrest charge had been dismissed in magistrate's court, any evidence found  incident to his arrest on the charge was the result an unlawful search.&nbsp; The  trial court denied the motions.&nbsp; Also,  over Fripp's objection the trial court charged the jury on both actual and  constructive possession of cocaine.&nbsp;  Fripp argued the evidence the State presented only supported a theory of  actual possession.&nbsp; Fripp was convicted  and sentenced to twelve years' imprisonment.&nbsp;  This appeal followed.
LAW/ANALYSIS

Fripp contends the trial court erred in  charging constructive possession to the jury when the facts presented by the  State could not have supported such an instruction.&nbsp; We agree.
"An appellate court will not reverse  the trial court's decision regarding jury instructions unless the trial court  committed an abuse of discretion."&nbsp; Cole v. Raut, 378 S.C. 398, 404,  663 S.E.2d 30, 33 (2008).&nbsp; "An abuse of discretion occurs when  the trial court's ruling is based on an error of law or is not supported by the  evidence."&nbsp; Id.&nbsp; "The law to be charged to the jury must  be determined by the evidence presented at trial."&nbsp; State v. Harris, 382 S.C. 107, 113,  674 S.E.2d 532, 535 (Ct. App. 2009); see also Clark v.  Cantrell, 339 S.C. 369, 390, 529 S.E.2d 528, 539 (2000) ("When instructing the jury, the  trial court is required to charge only principles of law that apply to the  issues raised in the pleadings and developed by the evidence in support of  those issues."). &nbsp;&nbsp;
"Actual  possession occurs when the drugs are found to be in the actual physical custody  of the person charged with possession, while constructive possession occurs  when the person charged with possession has dominion and control over either  the drugs or the premises upon which the drugs are found."&nbsp; State v. Ballenger, 322 S.C. 196, 199,  470 S.E.2d 851, 854 (1996) (citation omitted).&nbsp;
The facts  of this case present no basis for a jury charge of constructive  possession.&nbsp; Ballenger is the most  instructive case regarding the distinction between actual and constructive  possession.&nbsp; In Ballenger, police  received complaints that a male fitting Ballenger's description was selling  drugs on a particular street corner in a high crime area.&nbsp; Id. at 197, 470 S.E.2d at 852.&nbsp; When police arrived, they saw Ballenger, who  fit the description provided, and observed him in what appeared to be a drug  transaction.&nbsp; Id. at 197, 470  S.E.2d at 853.&nbsp; When the authorities  approached, they observed him put something in his pocket and run away.&nbsp; Id.&nbsp;  He eventually fell after scaling a fence and was apprehended when he  became entangled in barbed wire.&nbsp; Id. at 198, 470 S.E.2d at 853.&nbsp; Crack rocks  were found wrapped in newspaper about five feet from where he had fallen.&nbsp; Id.&nbsp;  It appears the jury was charged as to both actual and constructive  possession.&nbsp; Id. at 199-200, 470  S.E.2d at 854.&nbsp; On appeal, Ballenger  argued no evidence supported either theory and the court of appeals agreed.[2]&nbsp; The South Carolina Supreme Court reversed the court of appeals  finding the record contained sufficient evidence of actual possession to submit  the case to the jury and upheld Ballenger's conviction.&nbsp; Ballenger, 322 S.C. at 200, 470 S.E.2d  at 854.&nbsp; The court noted the State's case  "hinged on proving actual possession" and specifically commented on  the constructive possession theory in a footnote.&nbsp; Id. at 199-200, 470 S.E.2d at 854. &nbsp; "Apparently  Ballenger focused his argument to the [c]ourt of [a]ppeals on lack of  constructive possession, although that court addressed both types of possession  in its opinion.&nbsp; However, the  constructive possession theory is not applicable here, a fact which the  solicitor admitted at trial."&nbsp; Id. at 200 n.3, 470 S.E.2d at 854 n.3.&nbsp; 
The facts  in this case are similar to those in Ballenger in that the contraband  was discovered in a public area over which Fripp had no dominion or  control.&nbsp; The State's theory, as in Ballenger,  was that Fripp had actual possession of the drugs and tossed them when he  disappeared behind the black pick-up truck.&nbsp;  Such a scenario means the constructive possession theory is not  applicable and the giving of the constructive possession charge was erroneous. 
However, in  order to warrant reversal of Fripp's conviction, the giving of the instruction  must have also been prejudicial.[3] "Prejudice to the appellant's case is a prerequisite to reversal of a  verdict due to an erroneous jury charge."&nbsp; State v. Lee-Grigg, 374 S.C. 388, 415, 649 S.E.2d 41, 55 (Ct.  App. 2007).&nbsp;  "An erroneous jury  instruction will not result in reversal unless it causes prejudice to the  appealing party."&nbsp; Berberich v.  Jack, 392 S.C. 278, 285, 709 S.E.2d 607, 611 (2011).&nbsp; "A  jury charge consisting of irrelevant and inapplicable principles may confuse  the jury and constitutes reversible error where the jury's confusion affects  the outcome of the trial."&nbsp; Cole,  378 S.C. at 404, 663 S.E.2d at 33.&nbsp;  "No definite rule of law governs finding an error harmless;  rather, the materiality and prejudicial character of the error must be  determined from its relationship to the entire case." &nbsp;Lee-Grigg, 374 S.C. at 414, 649 S.E.2d  at 55.&nbsp; 
In this  case, the evidence upon which the State could rely in proving actual possession  is entirely circumstantial.&nbsp; Sergeant  Rodriguez did not testify he observed Fripp in a drug transaction, saw him put  anything in his pocket, or witnessed him drop anything while he was in the  parking lot.&nbsp; The dearth of direct  evidence as to actual possession leaves us unable to discern on what basis the  jury may have reached its verdict.&nbsp; The  jury charge as to constructive possession was irrelevant and inapplicable, had  the potential to confuse the jury, and may well have affected the outcome of  the trial.&nbsp; Therefore, we conclude  Fripp's conviction should be reversed and his case remanded for a new trial.
Because  the determination of this issue is dispositive, we decline to address Fripp's  arguments as to the admission of his statement to Sergeant Rodriguez while in  the rear of the patrol car and the admission of the cash and rocks found during  the search incident to his arrest for evading arrest.&nbsp; See Whiteside v. Cherokee Cnty.  Sch. Dist. No. One, 311 S.C. 335, 340, 428 S.E.2d 886, 889 (1993) (the  appellate court need not address remaining issues when previous issue is  dispositive of appeal).
Based on  all of the foregoing, Fripp's conviction is 
REVERSED AND REMANDED.&nbsp;&nbsp; 
PIEPER and  GEATHERS, JJ., concur.

  
    [1] Miranda v.  Arizona, 384 U.S. 436 (1966). 
  
    [2] See State v.  Ballenger, 317 S.C. 364, 454 S.E.2d 355 (Ct. App. 1995) (discussing the  lack of proof as to Ballenger's actual or constructive possession of drugs) rev'd,  322 S.C. 196, 470 S.E.2d 851 (1996)).
  
  
    [3] Any prejudice  in the giving of the constructive possession charge does not appear to have  been raised as an issue in Ballenger.
  

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